       Case 3:25-cv-01780-WHA           Document 56        Filed 03/05/25      Page 1 of 1




                                UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA


  AMERICAN FEDERATION OF                            Case No.25-cv-01780-WHA
  GOVERNMENT EMPLOYEES, AFL-CIO,
  et al.,
                  Plaintiffs,

           v.

  UNITED STATES OFFICE OF
  PERSONNEL MANAGEMENT, et al.,
                  Defendants.


                     NOTICE OF REQUEST FOR VIDEO RECORDING

        The parties in this case are hereby notified that a request has been made to video record

the following proceeding in this case pursuant to General Order 65, as part of the Cameras in the

Courtroom Pilot Project. Further information may be found at cand.uscourts.gov/cameras.



Proceeding: Evidentiary Hearing and Case Management Conference

Date of scheduled proceeding: March 13, 2025



        Consent to video recording will be presumed unless a party completes the Objection to

Request for Video Recording form available at cand.uscourts.gov/cameras within seven days of

the date of this notice.



Dated: 3/5/2025                                      Mark B. Busby, Clerk of Court



                                                     Signature of Clerk or Deputy Clerk
